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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                                           4:16-cr-36-JAJ-HCA

                             Plaintiff(s),

vs.

JORGE BONILLA RAMIREZ,

                             Defendant(s)

REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)
                  The United States of America and the defendant,                                    having

both filed a written consent to conduct of the plea proceedings

by    a    magistrate          judge,          appeared    before    me       pursuant         to   Fed.    R.

Crim.       P.    11 and LCrR 11.               The defendant entered a plea of guilty

to Count 1 of an Indictment which charged him with conspiracy to

distribute            a    mixture       and    substances       containing methamphetamine,

and       actual      methamphetamine              in   violation        of    21    U.S. C.        §§    8 41,

841 (b) (1) (C),            846.       After advising and questioning the defendant

under       oath          concerning       each    of     the    subjects       addressed           in    Rule

11 (b) (1),       I       determined that the guilty plea was in its entirety

voluntarily,               knowingly and intelligently made and did not result

from       force,         threats,        or    promises        (other    than      promises         in    the

plea       agreement).             I    further    determined       that      there       is    a   factual

basis       for    the guilty plea on each of the                         essential elements                of

the       offense ( s)       in        question.    A plea       agreement          was   disclosed         at
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the plea proceeding and defendant stated he understood its terms

and agreed to be bound by them.                        To the extent the plea agreement

is   of   the       type    specified       in    Rule 11 (c) (1) (A)            or     (C)       defendant

was advised the district judge to whom the case is assigned may

accept     the       plea     agreement,          reject        it,       or    defer         a    decision

whether to accept or reject it until the judge has reviewed the

pre sentence         report    as     provided          by     Rule 11 ( c) ( 3) (A) .              To    the

extent     the        plea     agreement           is     of      the          type     specified          in

Rule 11 (c) (1) (B)          defendant           was      advised         by      the     Court          that

defendant       has    no    right    to withdraw the plea                      if the        Court      does

not follow a recommendation or request in question.

                I    recommend       that    the       plea    of     guilty      be    accepted          and

that the defendant be adjudged guilty and have sentence imposed

accordingly.           A     pre sentence          report           has        been     ordered           and

sentencing proceedings scheduled.


                                                 U.S.                          JUDGE

                                                        6(l 6/(6
                                                 DATE


                                                 NOTICE

            Failure by a party to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service will
result in waiver by that party of the right to make objections to the Report
and Recommendation. 28 U.S.C. § 636(b) (1) (B). The Report and Recommendation
was served this date by delivery of a copy thereof to counsel for the
government and defendant in open court.




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